                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

JAMIE L. JONES,                              )
                                             )
              Plaintiff,                     )
                                             )
v.                                           )      No.:   3:21-CV-339-TAV-HBG
                                             )
SHERIFF ROBBIE GOINS,                        )
ADMIN. STONEY LOVE, and                      )
CAMPBELL COUNTY,                             )
                                             )
              Defendants.                    )


                                 JUDGMENT ORDER

       For the reasons set forth in the Memorandum and Order filed herewith, it is

ORDERED and ADJUDGED that this prisoner’s pro se civil rights action filed under

42 U.S.C. § 1983 is DISMISSED for failure to state a claim upon which relief may be

granted. 28 U.S.C. §§ 1915(e)(2)(B) and 1915A.

       Because the Court CERTIFIED in the Memorandum and Order that any appeal

from this Order would not be taken in good faith, should Plaintiff file a notice of appeal,

he is DENIED leave to appeal in forma pauperis. See 28 U.S.C. § 1915(a)(3); Fed. R.

App. P. 24. The Clerk is DIRECTED to CLOSE the file.

       ENTER:

                                   s/ Thomas A. Varlan
                                   UNITED STATES DISTRICT JUDGE

 ENTERED AS A JUDGMENT

       LeAnna R. Wilson
      CLERK OF COURT


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